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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

JASON SCHEXSNAYDER, Individually and For                     Case No. - - - - - - - -
Others Similarly Situated,

 v.

 BLUEWATER ENERGY, INC.                                      November13,2019


                 ORIGINAL CLASS AND COLLECTIVE ACTION COMPLAINT

                                               SUMMARY


          1.      Bluewater Energy, Inc. (Bluewater) failed to pay Jason Schexsnayder and other

workers like him, overtime as required by the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.

("FLSA"); and the overtime wage payment provisions of Connecticut state law, Conn.Gen.Stat. §31-

68, §31-72, §31-76c, et seq. ("Connecticut Wage and Hour Laws").

          2.      Instead, Bluewater pays Schexsnayder, and other workers like him, the same hourly

rate for all hours worked, including those in excess of 40 in a workweek.

          3.      Schexsnayder brings this class and collective action to recover unpaid overtime and

other damages.

                                      JURISDICTION AND VENUE

          4.      This Court has original subj ect matter jurisdiction pursuant to 28 U.S.C. § 1331 and

29    u.s.c. § 216(b).
          5.      The Court has federal jurisdiction over this action pursuant to the jurisdictional

provisions of the Class Action Fairness Act, 28 U.S.C. § 1332(d).

          6.      The Court also has supplemental jurisdiction over any state law sub-class pursuant to

28    u.s.c. § 1367.
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           7.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391 a significant portion of the

    facts giving rise to this lawsuit occurred in this District, specifically Schexsnayder worked for

    Bluewater in New Haven County Connecticut.
I
                                                 THE PARTIES

           8.        Schexsnayder was an employee of Bluewater. His written consent is attached as

    Exhibit A.

           9.        Bluewater is a corporation organized and existing under the laws of the state of

    Georgia with headquarters in Acworth, Georgia.

           10.

                                        COVERAGE UNDER THE FLSA

           11.       At all times hereinafter mentioned, Bluewater was and is an employer within the

    meaning of the Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

           12.       At all times hereinafter mentioned, Bluewater was and is an enterprise within the

    meaning of Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

           13.       At all relevant times, Bluewater was an enterprise engaged in commerce or in the

    production of goods for commerce within the meaning of Section 3(s)(1) of the FLSA, 29 U.S.C. §

    203(s)(1), because Bluewater is a construction firm providing construction services throughout the

    country.

           14.       At all relevant times, Bluewater had an annual gross volume of sales made in excess of

    $1,000,000.00.

           15.       At all times hereinafter mentioned, Schexsnayder and the Putative Class Members (as

    defined below) were engaged in commerce or in the production of goods for commerce per 29 U.S.C.

    §§ 206-207.




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                                             THE FACTS

          16.    Bluewater is "a professional and dependable technical services company to support

the growing needs in the power, industrial, and oil/ gas marketplace." 1

          17.    Schexsnayder was an hourly employee of Bluewater.

          18.    Schexsnayder was hired in late 2016 and left Bluewater's employment in early 2018.

          19.    Schexsnayder was an Electrical Project Manager for Bluewater.

          20.    Bluewater paid Schexsnayder by the hour.

          21.    Bluewater paid Schexsnayder $110 per hour.

    Pay Rate:        straight time:      $110.00 USO per hour         Note: You will be paid at
                                                                      the straight time rate for
                                                                         all hours worked.


          22.    Schexsnayder reported the hours he works to Bluewater on a regular basis.

          23.    If Schexsnayder worked fewer than 40 hours in a week, he is only paid only for the

hours he worked.

          24.    Schexsnayder regularly worked more than 40 hours in a week.

          25.    The hours Schexsnayder worked are reflected in Bluewater's records.

          26.    Bluewater paid Schexsnayder at the same hourly rate for all hours worked, including

those in excess of 40 in a workweek.

          27.    Rather than receiving time and half as required by the FLSA, Schexsnayder only

received "straight time" pay for overtime hours worked.

          28.    This "straight time for overtime" payment scheme violates the FLSA and Connecticut

Wage and Hour Laws.




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    http: // bluewaterenergyinc.com/ bout-us / (Last visited November 4, 2019)


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        29.         Bluewater was aware of the overtime requirements of the FLSA and Connecticut Wage

and Hour Laws .

        30.         Bluewater nonetheless failed to pay certain employees, such as Schexsnayder,

overtime.

        31.         Bluewater's failure to pay overtime to these workers was, and is, a willful violation of

the FLSA and Connecticut Wage and Hour Laws.

                                             FLSA VIOLATIONS

         32.        By failing to pay Schexsnayder and the Putative Class Members overtime at one-and-

one-half times their regular rates, Bluewater violated the FLSA's overtime provisions.

         33.        Bluewater owes Schexsnayder and the Putative Class Members the difference between

the rate paid to them and the proper overtime rate.

         34.        Because Bluewater knew, or showed reckless disregard for whether its pay practices

violated the FLSA, Bluewater owes these wages for at least the past three years.

         35.        Bluewater is liable to Schexsnayder and the Putative Class Members for an amount

equal to all unpaid overtime wages as liquidated damages.

         36.        Schexsnayder and the Putative Class Members are entitled to recover all reasonable

attorneys' fees and costs incurred in this action.

                             CONNECTICUT WAGE & HOUR LAW VIOLATIONS

         37.        Plaintiff brings this claim under the Connecticut Wage and Hour Laws as a Rule 23

class action.

         38.        The conduct alleged violates tl1e Connecticut Wage and Hour Laws (Conn.Gen.Stat.

§31-58, et seq.).

         39.        At all relevant times, Defendant was subject to the requirements of the Connecticut

Wage and Hour Laws.


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        40.      At all relevant times, Defendant employed Plaintiffs and each Class Member with

Connecticut state law claims as an "employee" within the meaning of the Connecticut Wage and Hour

Laws.

        41.      The Connecticut Wage and Hour Laws require that employees receive overtime

compensation "of at least one and one-half times" (1.5) the employee's regular rate of pay for all hours

worked over forty (40) in one workweek for the past two years. See Conn.Gen.Stat. §31-76c.

        42.      Due to Bluewater's violations of the Connecticut Wage and Hour Laws, Plaintiff and

the Connecticut Class are entitled to recover from Defendant its unpaid overtime wages, penalty

damages, interest and reasonable attorneys' fees and costs pursuant to Conn.Gen.Stat. §31-68, §37-3a.

        43.      As an employee for Defendant, Plaintiff and the Connecticut Class worked in excess

of the maximum weekly hours permitted under Conn.Gen.Stat. §31-76c, et seq., but were not paid

overtime wages for this time spent working.

                            CLASS & COLLECTIVE ACTION ALLEGATIONS

        44.      Bluewater's illegal "straight time for overtime" policy extends beyond Schexsnayder.

        45.      It is the "straight time for overtime" payment plan that is the "policy that is alleged to

violate the FLSA" in this FLSA collective action. Bursell v. Tommy's Seefood Steakhouse, No. CIV. A. H-

06-0386, 2006 WL 3227334, at *3 (S.D. Tex. Nov. 3, 2006); Wellman v. Grand Isle Shipyard, Inc., No.

CIV. A. 14-831, 2014 WL 5810529, at *5 (E.D. La. Nov. 7, 2014) (certifying "straight time for

overtime" claim for collective treatment).

        46.      Bluewater has paid and pays hundreds of workers using the same unlawful scheme.

        47.      Any differences in job duties do not detract from the fact that these workers are

entitled to overtime pay.




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         48.      The workers impacted by Bluewater's "straight time for overtime" scheme should be

notified of this action and given the chance to join pursuant to 29 U.S.C. § 216(6). Therefore, the

class is properly defined as:

         All current and former employees of Bluewater who were, at any point in the past 3
         years, paid "straight time for overtime." (the "Putative Class Members").

         49.      In addition to the FLSA Class, Schexsnayder seeks to represent the following Class

under the Connecticut \Vage and Hour Laws:

         All current and former employees of Bluewater during the past two years who
         were paid "straight time for overtime" while working in Connecticut.

                  This Class Schexsnayder represents will be referred to as the "Connecticut Class."

         50.      Numerous individuals were victimized by this pattern, practice, and policy which is in

willful violation of the FLSA and the Connecticut Wage and Hour Laws.

         51.      Numerous other individuals who worked with Plaintiff indicated they were improperly

classified as exempt, paid in the same manner, performed similar work, and were not properly

compensated for all hours worked as required by state and federal wage laws.

         52.      Based on his experiences and tenure with Bluewater, Plaintiff is aware that Bluewater's

illegal practices were imposed on the members of the class.

         53.      Bluewater paid "straight time for overtime" across the United States.

         54.      The members of the class were all improperly not afforded overtime compensation

when they worked in excess of forty 40 hours per week.

         55.      Bluewater's failure to pay wages and overtime compensation at the rates required by

state and/ or federal law result from generally applicable, systematic policies and practices which are

not dependent on the personal circumstances of the members of the class.

         56.      Plaintiff's experiences are therefore typical of the experiences of the members of the

class.


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        57.      The specific job titles or precise job locations of the various members of the class do

not prevent class or collective treatment.

        58.      Plaintiff has no interests contrary to, or in conflict with, the members of the class.

Like each member of the class, Plaintiff has an interest in obtaining the unpaid overtime wages owed

under state and/ or federal law.

        59.      A class and collective action, such as the instant one, is superior to other available

means for fair and efficient adjudication of the lawsuit.

        60.      Absent this action, many members of the class likely will not obtain redress of their

injuries and Bluewater will reap the unjust benefits of violating the FLSA and the Connecticut Wage

and Hour Laws.

        61.      Furthermore, even if some of the members of the class could afford individual

litigation against Bluewater, it would be unduly burdensome to the judicial system.

        62.      Concentrating the litigation in one forum will promote judicial economy and parity

among the claims of individual members of the classes and provide for judicial consistency.

        63.      The questions of law and fact common to each of the members of the class

predominate over any questions affecting solely the individual members. Among the common

questions of law and fact are:

        (a) Whether Bluewater employed the members of the class within the meaning of the FLSA
            and the Connecticut Wage and Hour Laws;

        (b) Whether Bluewater's decision to classify the members of the class as exempt was made in
            good faith;

        (c) \v'hether Bluewater's decision to not pay time and a half for overtime to the members of
            the class was made in good faith;

        (d) Whether Bluewater's violations of the FLSA and the Connecticut Wage and Hour Laws
            were willful; and

        (e) \v'hether Bluewater's illegal pay practices were applied uniformly across tl1e nation to all
            members of the class.

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        64.       Plaintiff's claims are typical of the claims of the members of the class. Plaintiffs and

the members of the class sustained damages arising out of Bluewater's illegal and uniform

employment policy.

        65.       Plaintiff knows of no difficulty that will be encountered in the management of this

litigation that would preclude their ability to go forward as a collective action.

        66.       Although the issue of damages may be somewhat individual in character, there is no

detraction from the common nucleus of liability facts. Therefore, this issue does not preclude

collective action treatment.


                                             RELIEF SOUGHT

              WHEREFORE, Plaintiff prays for judgment against Bluewater as follows:

               (a) For an order allowing this action to proceed as a FLSA collective action and directing
                   notice to the class;

               (b) For an order pursuant to section 16(b) of the FLSA finding Bluewater liable for unpaid
                   back wages, and an equal amount of liquidated damages, due to Plaintiffs and the class
                   members;

               (c) For an order designating the Connecticut state law class as a class action pursuant to
                  FED. R. CIV. P. 23;

               (d) For an order awarding Plaintiff and the class members the costs of this action;

               (e) For an order awarding Plaintiff and the class members their attorneys' fees;

               (f) For an order awarding Plaintiff and the class members unpaid wages, liquidated
                  damages and penalty damages in connection with the FLSA and Connecticut
                  Minimum Wage Act violations;

               (g) For an order awarding Plaintiff and the class members pre- and post-judgment interest
                   at the highest rates allowed by law (C.G.S. Sec. 37-3a); and

               (h) For an order granting such other and further relief as may be necessary and
                  appropriate.




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                                     Respectfully submitted, JASON
                                     SCHEXSNAYDER, Individually and For
                                     Others Similarly Situated,




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                                     Pro hac admissions anticipated

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